       Case 1:21-cv-02132-JPB Document 1-1 Filed 05/20/21 Page 1 of 12                      E-FILED IN OFFICE - AM
                                                                                           CLERK OF STATE COURT
                                                                                       GWINNETT COUNTY, GEORGIA
                                                                                                21-C-02985-S5
                                                                                             4/16/2021 2:41 PM
                                                                                           TIANA P. GARNER,CLERK

                IN THE STATE COURT OF GWINNETT COUNTY
                           STATE OF GEORGIA

CHERYL SCHRENK,
                                             •       Civil„Action File
                      Plaintiff,             •       No.2 I-L.-02985-M

V.

QUIKTRIP CORPORATION a
And JOHN DOE,                                •       DEMAND FOR JURY TRIAL


                      Defendants.

                                          SUMMONS

TO THE ABOVE-NAMED DEFENDANT: OUTICTRIP CORPORATLON.is a foreign
corporation qualified to do business in Georgia and may be served with a copy of the Complaint
and Summons through its registered agent, to wit: CT Corporation System at 289 S Culver St,
Lawrenceville, GA,30046.
        You are hereby summoned and required to file with the Clerk of said Court and serve upon
the Plaintiffs attorney, whose name and address is:

                                   Michael Johnson, Esq.
                             JOHN FOY & ASSOCIATES,P.C.
                             3343 Peachtree Road, NE,Suite 350
                                   Atlanta, Georgia 30326
                                      (404)400-4000

an answer to the complaint, which is herewith served upon you, within 30 days after service of this
summons upon you, exclusive of the day of service. If you fail to do so,judgment by default will
be taken against you for the relief demanded in the complaint.

       This 16Th day of April, 2021.



                                             By:
                                                      ler    eputy Clerk




                                                                                                      Exhibit A
                                                                                            E-FILED IN OFFICE - Ar
        Case 1:21-cv-02132-JPB Document 1-1 Filed 05/20/21 Page 2 of 12                   CLERK OF STATE COUR'
                                                                                      GVVINNETT COUNTY, GEORG)
                                                                                              21-C-02985-SI
                                                                                           4/16/2021 2:41 Ph
                                                                                         TIANA P. GARNER,CLER1


                IN THE STATE COURT OF GVVINNETT COUNTY
                           STATE OF GEORGIA

CHERYL SCHRENK,
                                             •        Civil Action File
                      Plaintiff,             •        N0.21-C-02985-S5

V.

QUIKTRIP CORPORATION a
And JOHN DOE,                                •        DEMAND FOR1URY TRIAL


                      Defendants.

                               COMPLAINT FOR DAMAGES

       COMES NOW,the Plaintiff, Cheryl Schrenk, (hereinafter referred to as "Plaintiff'), by

and through his Counsel ofRecord, and shows this Court the following facts and circumstances in

support of his Complaint.

                                                 1.

       DefendatitQUIKTRIP CORPORATION ("Quiktrip") is a foreign corporation qualified to

do business in Georgia and may be served with a copy ofthe Complaint and Summons through its

registered agent, to wit: CT Corporation System at 289 S Culver St, Lawrenceville, GA,30046.

                                                 2.

       On May 30, 2020, Plaintiff was an invitee at Defendant Quiktrip's store located at 1055

Old Peachtree Rd. NW,Lawrenceville,GA 30043. While the Plaintiff was in the store, she slipped

and fell on a liquid substance that was allowed to accumulate and remain on the floor ofthe store

without any visible caution or warning to the Plaintiff

                                                 3.

       Defendant JOHN DOE was the on-duty manager ofthe Quilctrip store located at 1055
        Case 1:21-cv-02132-JPB Document 1-1 Filed 05/20/21 Page 3 of 12




Old Peachtree Rd. NW,Lawrenceville, GA 30043 on May 30,2020 at the time ofPlaintiffs fall

and is unidentified and unknown at this time.

                                                 4.

       Defendant JOHN DOE is a resident ofthe State of Georgia.

                                                 5.

       Venue as to Defendant JOHN DOE is proper in Gwinnett County State Court.

                                       COUNT I:
                           NEGLIGENCE OF DEFENDANT OUIKTRIP


                                                 6.

       Plaintiff re-alleges and incorporates herein by reference paragraphs 1 through 5 above as

ifthe same were restated herein verbatim.

                                                 7.

       Under Georgia law, "[w]here an owner or occupier of land, by express or implied

invitation, induces or leads others to come upon his premises for any lawful purpose, he is liable

in damages to such persons for injuries caused by his failure to exercise ordinary care in keeping

the premises and approaches safe." 0.C.G.A. § 51-3-1.

                                                 8.

       Plaintiff lacked knowledge ofthe hazard despite her exercise of ordinary care.

                                                 9.

       This is a clear liability case caused by Defendant Quiktrip's negligent conduct with no bona

fide controversy related to the fact that: 1) Defendant Quilctrip owns and operates the premises

where the incident in question occurred; 2) Plaintiff was injured when she slipped on a foreign


                                            Page 2 of 6
          Case 1:21-cv-02132-JPB Document 1-1 Filed 05/20/21 Page 4 of 12




object on the floor of the store; 3) Defendant Quiktrip had a duty to exercise ordinary care in

keeping the premises and approaches to the store safe; 4)Defendant Quiktrip breached that duty;

and 5)Defendant Quilctrip's breach of that duty caused injury to the Plaintiff.

                                                   10.

         As a direct and proximate result of Defendant Quiktrip's negligence, Plaintiff suffered

serious and persistent injuries, which caused her great pain and suffering.

                                    COUNT It
                        NEGLIGENCE OF DEFENDANT JOHN DOE

                                                   1 1.

         Plaintiff re-alleges and incorporates herein by reference paragraphs 1 through 10 above as

ifthe same were restated herein verbatim.

                                                   12.

         Defendant JOHN DOE at all times relevant to this action, had control and/or supervision

over Defendant Quilctrip's premises located at 1055 Old Peachtree Rd. NW,Lawrenceville, GA

30043.

                                                   13.

         Defendant JOHN DOE held superior knowledge to Plaintiff as to the hazardous condition

ofthe liquid on the floor that caused Plaintiffs fall.

                                                   14.

         Defendant JOHN DOE had a duty to exercise ordinary care in keeping the premises and

approaches to the store safe; Defendant JOHN DOE breached that duty; and Defendant JOHN

DOE's breach ofthat duty caused injury to the Plaintiff.


                                            Page 3 of 6
         Case 1:21-cv-02132-JPB Document 1-1 Filed 05/20/21 Page 5 of 12




                                            COUNT BI:
                                            DAMAGES

                                                   15.

       Plaintiff re-alleges and incorporates herein by reference paragraphs 1 through 14 above as

ifthe same were restated herein verbatim.

                                                   16.

       Based upon the information currently held by counsel for Plaintiff, Plaintiff has incurred

the following medical expenses to date:

        Medical Provider                       Amount Charged
       Kaiser Permanente.                      $ 1,577.00
       Barbour Orthopaedics                    $ 10,434.84
       American Health Imaging                 $ 2,225.00
       Surgical Estimate                       $ 41,731.60
       Barbour Surgical Facility               $ 49,102.02
       Anesthesia Bill                         $ 2,000.00
       Total Special Damages                   $107,070.46


                                                   17.

       These expenses were incurred for the necessary past and future care and treatment of the

injuries to Plaintiff resulting from the collision that constitutes the basis ofthe underlying action.

                                                   18.

       As a direct and proximate result of Defendant Quiktrip's negligence, Plaintiff has endured

emotional distress and mental anxiety.




                                            Page 4 of 6
        Case 1:21-cv-02132-JPB Document 1-1 Filed 05/20/21 Page 6 of 12




                                                   19.

       As a direct and proximate result of Defendant Quiktrip's negligence,Plaintiff has suffered

interference with enjoyment of life.

                                                   20.

       Both the incident and the injuries sustained by Plaintiff were the direct and proximate result

ofthe negligent acts ofthe Defendants.



       WHEREFORE, Plaintiff prays that she have a TRIAL BY JURY on all issues and

judgment against Defendants as follows:

      (a)      That Plaintiff recovers the full value of her medical expenses in an amount to be

               proven at trial but, in no event, less than $107,070.46;

      (b)      That Plaintiff recovers for physical pain and suffering in an amount to be

               determined by the enlightened conscience of ajury;

      (c)     That Plaintiffrecovers for her loss of enjoyment of life in amount to be determined

               by the enlightened conscience of a jury;

      (d)      That Plaintiff recovers for the cost of this litigation; and

      (e)      That Plaintiff recovers such other and further relief as is just and proper.



       This 16th day of April, 2021.

                                                         JOHN FOY & ASSOCIATES,P.C.

                                                    /s/ Michael Johnson
                                                    Michael Johnson,Esq.
                                                    Georgia Bar No. 679391
                                                    COUNSEL FOR PLAINTIFF
                                            Page 5 of 6
       Case 1:21-cv-02132-JPB Document 1-1 Filed 05/20/21 Page 7 of 12




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                                    Page 6 of 6
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           Case 1:21-cv-02132-JPB Document 1-1 Filed 05/20/21 Page 8 of 12                  CLERK OF STATE COURT
                                                                                        GWINNETT COUNTY, GEORGIA
                                                                                                   21-C-02985-S5
                                                                                               5/19/2021 3:52 PM
                                                                                           TIANA P. GARNER, CLERK

                       IN THE STATE COURT OF GWINNETT COUNTY

                                       STATE OF GEORGIA

CHERYL SCHRENK,                                 )
                                                )
       Plaintiff,                               )
                                                )        CNIL ACTION
V                                               )
                                                )        FrLE NO. 21-C-02985-S5
QUIKTRIP CORPORATION and                        )
JOHN DOE,                                       )
                                                )
       Defendants.                              )
                                                )

                                     DEFENSES AND ANSWER

       COMES NOW, Defendant QUIKTRIP CORPORATION, appearing specially andwithout

submitting to the jurisdiction and venue of this Court, and files this its Defenses and Answer to

PlaintifPs Complaint for Damages, and shows the Court as follows:

                                          FIRST DEFENSE

       The Plaintifls Complaint fails to state a claim against Defendant upon which relief can be

granted.

                                         SECOND DEFENSE

       Jurisdiction is improper as to Defendant.

                                          THIRD DEFENSE

       Venue is improper as to Defendant.

                                         FOURTH DEF'ENSE
                                               ANSWER

           Defendant responds to the allegations of Plaintiff s Complaint as follows:

                                                    1.


           Defendant admits the averments contained in paragraph 1 of Plaintiff s Complaint.
       Case 1:21-cv-02132-JPB Document 1-1 Filed 05/20/21 Page 9 of 12



                                                   2.

       Defendant denies the averments contained in paragraph2 of Plaintiff s Complaint.

                                                   a
                                                   J.


       Defendant denies the averments contained in paragraph 3 of Plaintifls Complaint.

                                                   4.


       Defendant denies the averments contained in paragraph4 of Plaintiff s Complaint.

                                                   5.


       Defendant denies the averments contained in paragraph 5 of Plaintiff s Complaint.

                                                   6.

       Defendant incorporates     by   reference   its   responses   to   paragraphs 1-5    of Plaintiffs
Complaint as if fully set forlh herein below.

                                                   7.

       Defendant denies the averments contained in paragraphT of Plaintiff s Complaint.

                                                   8.


       Defendant denies the averments contained in paragraph 8 of Plaintiff s Complaint.

                                                   9.


       Defendant denies the averments contained in paragraph 9 of Plaintiffls Complaint.

                                                   10.


       Defendant denies the averments contained in paragraph 10 of Plaintiff s Complaint.

                                                   11.


       Defendant incorporates by reference its responses             to   paragraphs 1-10   of Plaintiffls

Complaint as if fully set forth herein below.

                                                   12.


       Defendant denies the averments contained in paragraphT2 of Plaintiff s Complaint.


                                                   -2-
       Case 1:21-cv-02132-JPB Document 1-1 Filed 05/20/21 Page 10 of 12



                                                13.


       Defendant denies the averments contained in paragraph 13 of Plaintifls Complaint.

                                                14.


       Defendant denies the averments contained in paragraph 14 of Plaintiff s Complaint.

                                                15.


       Defendant incorporates by reference its responses        to paragraphs 1-14 of Plaintiffs

Complaint as if fully set forth herein below.

                                                16.


       Defendant denies the averments contained in paragraph 16 of Plaintiff s Complaint.

                                                17.

       Defendant denies the averments contained in paragraphTT of Plaintiff s Complaint.

                                                 18.


       Defendant denies the averments contained in paragraph 18 of Plaintiff s Complaint.

                                                 19.

       Defendant denies the averments contained in paragraph 19 of Plaintiff s Complaint.

                                                20.

       Defendant denies the averments contained in paragraph2} of Plaintiffls Complaint.

                                        FIFTH DEFENSE

       Defendant denies each and every averment contained in the paragraph beginning with the

woTd "WHEREFORE"         in the Plaintiff s Complaint. Any allegations or averments contained in

Plaintiff s Complaint not specifically responded to above   are hereby denied.

       WHEREFORE, Defendant QUIKTRIP CORPORATION, having                         fully answered,
demands that it be discharged with all costs cast upon the Plaintiff.




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      Case 1:21-cv-02132-JPB Document 1-1 Filed 05/20/21 Page 11 of 12



                                   Respectfully submitted,

                                   DOWNEY & CLEVELANDO LLP




                                   By:       /s/ Sean L. Hynes
                                             SEAN L. HYNES
                                             Georgia State Bar No. 381698
                                             hynes@downeycleveland. com
                                             Attorneys for Defendant QuikTrip
                                             Corporation

Downey & Cleveland, LLP
288 Washington Avenue
Marietta, GA 30060-1 979
T:770-422-3233
F:770-423-4199




                                         4
       Case 1:21-cv-02132-JPB Document 1-1 Filed 05/20/21 Page 12 of 12



                                 CERTIFICATE OF SERVICE

       This is to certify that I have this day served the following counsel of record with   a   true and

correct copy of the foregoing pleading via electronic service and/or by depositing said copy in the

United States Mail, with sufficient postage affixed thereon, and properly addressed to the

following:

       Michael Johnson, Esq.
       John Foy & Associates
       343 Peachtree Road, NE, Ste. 350
       Atlanta, Ga30326

       This   19th day   of May,202I

                                              DOWNEY & CLEVELAND, LLP




                                              By       /s/ Sean L. Hynes
                                                       SEAN L. HYNES
                                                       Georgia State Bar No. 381698




                                                   5
